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                  D IS TR IC T O F N E VA DA
                              00 0-      -



 UNITED STATES OF AMERICA,                    )
                                              )   2:11-CR-VV N
              Plaintift                       )
                                              )   ORDER FOR ISSUANCE OF
        vs.                                   )   W RIT OF HABEAS CORPUS
                                              )   AD PROSEQUENDUM FOR
 ERIC R RONE JACKSON,                         )   ERIC TYRONE JACKSON
                                              )
              Defendant.                      )
                                              )

              Upon reading the petition ofthe United States Attorney forthe Districtof
 Nevada,and good cause appearing therefor,
              IT IS HEREBY ORDERED thata W ritofHabeas CorpusAd Prosequendum
 issue out ofthis Coud,directing the production ofthe body ofthe said ERIC W RO NE
JACKSO N,2836054. before the United States Magistrate Judge atLas Vegas,Nevada,
                I/A &A/P Fri: 12/30/11
on orabout      tï30 PM   Gw y    3A          ,forInitialAppearance and Arraignmentand
 Plea,and any fudherproceedings and from tim e to tim e and day to day thereafteruntil
excused by the said Coud.
              DATED :


                                             UNITED STATES A S RATE JUDG E
               Case 2:11-cr-00442-GMN-GWF         Document 5          Filed 12/20/11          Page 2 of 3
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           1    DAN IEL G .BOG DEN
                United States Attorney
           2    ANDREW W .DUNCAN
                AssistantUnited StatesAttorqey
           3    333 Las Vegas Blvd.,S.,Sulte 5000
                Las Vegas,Nevada 89101
           4 (702) 388-6336
           5                UN ITE D S TA TE S D IS TR IC T C O U R T
           6                      D IS TR IC T O F N E VA D A
           7
                                              00 0-         -

           8
                UNITED STATES OF AMERICA,                       )     2:11-cr-1/:/.
                                                                                  --
           9                                                    )
                         Plaintifl                              )
          10                                                    )    PETITION FOR W RIT OF HABEAS
                               vs.                              )    CORPUS AD PROSEQUENDUM FOR
          11I                                                   )    ERIC W RONE JACKSON
                ERIC R RONE JACKSON,                            )
          12                                                    )
                         Defendant.                             )
          13                                                    )
          14             The petition ofthe United States Attorney forthe Distrid of Nevada respectfully
!         15 showsthatERIC TYRONEJACKSON,2836054,iscommittedbydueprocessofIaw inthe
I
!         16 custody ofthe W arden,Clark County Detention Center,Las Vegas,Nevada,thatsaid
          17 W arden has consented to the tem porary release ofthe said ERIC R RONE JACKSO N
          18 pursuantto a W ri
                             tofHabeas Corpus Ad Prosequendum so thatthe said ERIC TYRO NE
          19 JACKSO N m ay be presentbefore the United States Magistrate Judge forthe Districtof
          20    N                                          I/A& A/P Fri: l2/30/11
                    evada,atLas Vegas,Nevada,on    -
                                                           1230 pxf ow y 3A         -   ,   forInitialAppearance and
          21 Arraignmentand Plea,and any furtherproceedings,and from tim e to tim e and day to day
          22 thereafteruntilexcused by the said Coud,
          23             Thatthe presence ofthe said ERIC TYRONE JACKSO N before the United States
                                                            I/A& A9 Fri: 12/30/1l
          24 M agistrate Judge on orabout                   k),
                                                              .
                                                              k PM     Gw F    3,*                  ,and any fudher
          25 proceedingsand from time to tim e and dayto daythereafteruntilexcused bythe Courthas
          26    been ordered by the United States Magistrate orDistrictJudge forthe DistrictofNevada.
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        '
    k




            1            W HEREFORE, petitioner respec#ully prays that a W rit of Habeas Corpus Ad
            2     Prosequendum issue outofthis Coud,directed to the W arden,Clark County Detention
            3 Centerand to the United States M arshalforthe Distrid ofNevada,com m anding them to
            4     produce the said ERIC R RO NE JACKSO N before the Uni
                                                                      ted States DistrictCourton or
                               I/A&A/P Fri: 12/30/1l
            5 about            It.
                                 ,
                                 k PM GWF 34                       ,and from time to time and dayto day
            6 thereafter,atsuch tim es and places as m ay be ordered and directed by the Coud entitled
            7 above,to appearbefore the Coud,and when excused by the said Court,to be returned to
            8 the custody ofthe W arden,Clark County Detention Center,Las Vegas,Nevada.
            9                  DATED: this o?D         day ofDecember2011    .



            10                                           Respectfully subm itted,                         j
            11                                           DANIEL G.BOG DEN
                                                                                                          (
                                                                                                          '
                                                         United states Attorney
            12
            13                                                 j     ''h
                                                                       ,

            14                                           N REW W .D NCAN
                                                        AssistantUnited States Attorney
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